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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


Aleksandar Mimic                            )
(A 204 566 539),                            )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )       Case No. 21-cv-4618
                                            )
Kevin Riddle, Field Office                  )
Director, Chicago Field Office, U.S.        )
Citizenship & Immigration Services;         )
and Alejandro Mayorkas, Secretary,          )
U.S. Department of Homeland Security,       )
                                            )
       Defendants.                          )


                         PETITION FOR WRIT OF MANDAMUS

       The Plaintiff, Aleksandar Mimic, by and through his own and proper person, and through

his attorneys, the law offices Kriezelman Burton & Associates, LLC, petitions this Honorable

Court for a Writ of Mandamus directing the U.S. Department of Homeland Security and U.S.

Citizenship and Immigration Services (hereinafter “USCIS”) to adjudicate his application for

naturalization and process all background checks pursuant to the same, and in support thereof,

state as follows:

                                         Introduction

   1. This is a civil action brought by Aleksandar Mimic, to compel the Defendants to take

       action on the application for naturalization filed with USCIS on February 14, 2020.

                                    Jurisdiction And Venue

   2. This court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 (federal

       question) in conjunction with 28 U.S.C. § 1361 (mandamus), the Administrative



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   Procedure Act (APA) (5 U.S.C. § 555(b)), and the Immigration and Nationality Act

   (“INA”) and its implementing regulations (Title 8 of the CFR).

3. Under 28 U.S.C. §1331, “[t]he district courts shall have original jurisdiction of all civil

   actions arising under the Constitution, laws, or treaties of the United States.” There is

   jurisdiction under 28 U.S.C. § 1331 because this action arises under 28 U.S.C. § 1361,

   the Administrative Procedures Act (APA) (5 U.S.C. § 555(b) and 5 U.S.C. § 702), and

   the Immigration and Nationality Act and implementing regulations.

4. Under 28 U.S.C. § 1361, “[t]he district courts shall have original jurisdiction of any

   action in the nature of mandamus to compel an officer or employee of the United States

   or any agency thereof to perform a duty owed to the plaintiff.”

5. The APA requires USCIS to carry out its duties within a reasonable time. 5 U.S.C. §

   555(b) states, “(w)ith due regard for the convenience and necessity of the parties or their

   representatives and within a reasonable time, each agency shall proceed to conclude a

   matter presented to it.” USCIS is subject to 5 U.S.C. § 555(b). Plaintiff contends that the

   delay in processing the application for naturalization is unreasonable.

6. Both the regulations and the INA provide numerous examples of duties owed by the

   Department of Homeland Security and USCIS in the naturalization process. The INA

   states that the employee designated to conduct an examination on a naturalization

   application “shall make a determination as to whether the application should be granted

   or denied, with reasons there for.” 8 U.S.C. § 1446(d) (emphasis added). The

   regulations state: “The Service officer shall grant the application if the applicant has

   complied with all requirements for naturalization.” 8 C.F.R. §335.3(a).




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7. The language of the statute and regulations is mandatory, not discretionary, and requires

   Defendants to adjudicate the application for naturalization. USCIS has a mandatory duty

   to adjudicate applications and petitions and jurisdiction thus vests in mandamus before

   this Court. Iddir v. INS, 301 F.3d 492, 500 (7th Cir. 2002). Further, because USCIS has

   a duty to adjudicate the application, Plaintiff Aleksandar Mimic has a correlative right to

   have his application adjudicated.

8. Venue of this action is proper under 28 U.S.C. § 1391(e)(3). The Defendants maintain

   offices in this district and the USCIS Office in this district is adjudicating Plaintiff’s

   application. Further, Plaintiff resides in Cook County, Illinois, which is within the

   judicial district of Northern District.

                                             Parties

9. Plaintiff Aleksandar Mimic is a native and citizen of Croatia who has been a legal

   permanent resident of the United States since March 11, 2013 and who filed an

   application for naturalization, Form N-400, with USCIS on February 14, 2020.

10. Defendant Kevin Riddle is sued in his official capacity only. He is the Field Office

   Director of the Chicago Field Office of USCIS. As such, he is the Attorney General’s

   designate for the Chicago Field Office, charged with the duty of administration and

   enforcement of all the functions, powers, and duties of USCIS.

11. Defendant Alejandro Mayorkas, Secretary for the Department of Homeland Security

   (“DHS”), is being sued in his official capacity only. Pursuant to the Homeland Security

   Act of 2002, Pub. L. 107-296, Defendant Mayorkas, through his delegates, has authority

   to adjudicate naturalization applications filed with the United States Citizenship and




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   Immigration Services (USCIS) and to accord U.S. citizenship pursuant to 8 U.S.C. §

   1421.

                                   Factual Background

12. Plaintiff Aleksandar Mimic is native and citizen of Croatia. He received his lawful

   permanent resident status on or about March 11, 2013

13. Plaintiff Aleksandar Mimic has remained in the United States continuously since USCIS

   accorded him such status.

14. On or about February 14, 2020, Plaintiff filed his application for naturalization, Form N-

   400, with USCIS. The application was filed with appropriate supporting documentation.

15. Plaintiff was scheduled for an interview at the USCIS Chicago Field Office on February

   2, 2021. The interview was cancelled by USCIS and Plaintiff has not received notice of a

   rescheduled interview date.

16. Plaintiff has received no communication regarding final adjudication of the application,

   nor has he been instructed to provide any further information or documentation to

   USCIS.


                                     Request for Relief

17. Plaintiff has complied with all the requirements for filing an application for naturalization

   and remains eligible to naturalize pursuant to 8 U.S.C. § 1427.

18. Plaintiff remains a person of good moral character as defined by 8 U.S.C. § 1427(e) and 8

   U.S.C. § 1101(f).

19. That the Defendants have willfully and unreasonably delayed and have refused to

   adjudicate the Application for Naturalization (N-400).

20. That the delay in adjudicating the application is not attributable to Plaintiff.


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21. That the Defendants owe Plaintiff a duty to adjudicate the application for naturalization

   and have unreasonably failed to perform that duty. This duty is owed under the INA and

   implementing regulations, as well as by the fact that by charging a filing fee, USCIS

   created for itself an obligation to process and adjudicate the application.

22. That the delay is unreasonable per se.

23. That the delay is unreasonable considering the time frame Congress imposed on USCIS

   in adjudication of applications for naturalizations. 8 U.S.C. § 1447(b).

24. The delay is unreasonable because USCIS has been unable to adequately respond to any

   of the Plaintiff’s inquiries on the application.

25. That by making inquiries on the status of the application, Plaintiff has exhausted all

   administrative remedies that may exist. No other remedy exists to resolve Defendants’

   delay and lack of ability or willingness to complete the adjudication of Plaintiff’s

   application for naturalization.

26. That because of Defendants’ delay, Plaintiff has been prejudiced in that he cannot receive

   a successful adjudication of his application and a decision as to whether he can become a

   citizen of the United States, with all the rights and privileges accorded to such status.




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   WHEREFORE, and considering the foregoing, Plaintiff Aleksandar Mimic, prays that this

Honorable Court:

      A.     Assume jurisdiction herein;

      B.     Compel the Defendants and those acting under them to perform their duty or

             duties to adjudicate the N-400 Application for Naturalization and process all

             background checks within a specific timeframe;

      C.     Grant such other and further relief, as the Court deems appropriate and just.



                                                   Respectfully Submitted,
                                                   Aleksandar Mimic


                                                   By: s/ Kevin Raica
                                                   One of his attorneys


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